Case 2:20-cv-09482-DMG-AS Document 72 Filed 12/07/21 Page 1 of 1 Page ID #:1484




   1
   2
   3
   4
   5
   6
   7
   8                             UNITED STATES DISTRICT COURT
   9                        CENTRAL DISTRICT OF CALIFORNIA
  10                                  WESTERN DIVISION
  11
       VAMPIRE FAMILY BRANDS, LLC,                Case No. CV 20-9482-DMG (ASx)
  12
                    Plaintiff,
  13                                              ORDER OF DISMISSAL WITH
             vs.                                  PREJUDICE [71]
  14
       MPL BRANDS, INC., MPL BRANDS
  15 NV, INC. d/b/a PATCO BRANDS, and
       PYRAMID INC.,
  16
                    Defendants.
  17
  18
             The Court, having considered the parties’ Joint Stipulation for Dismissal
  19
       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, hereby
  20
       dismisses with prejudice the above-captioned action. Each party shall bear its own
  21
       costs and attorneys’ fees.
  22
       IT IS SO ORDERED.
  23
  24
       DATED: December 7, 2021                 _____________________________
  25                                              DOLLY M. GEE
                                                  UNITED STATES DISTRICT JUDGE
  26
  27
  28
